Case 23-05593-JJG-7A Doc 317 Filed 01/07/25 EOD 01/07/25 12:31:46 Pgiof1

UNITED STATES BANKRUPTCY COURT

Southern District of Indiana

Indianapolis Division

IN RE: )

Rodney Grubbs Case No. 23-05593-JJG-7A

ee

Debtor

NOTICE OF CHANGE OF ADDRESS FOR DEBTOR

To the Court: The correct address for the following debtor is:

Name:

FILED

U.S. BANKRUPTCY COURT
Listed address:

JAN 7 2025

SOUTHERN DISTRICT OF INDIA
CLERK OF COURTS ms

Corrected address:

Respectfully,

vba Dy tA?

(Signature)

Debtor
[/~/- 202857

Date

/ENVELOPE NOT PROVIDED
g/COPIES NOT PROVIDED

